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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SECURITIES AND EXCHANGE COMMISSION,                         §
                                                            §
                              Plaintiff,                    §
                                                            §
v.                                                          §       Case No.: 3:16-CV-1735-D
                                                            §
CHRISTOPHER A. FAULKNER,                                    §
BREITLING ENERGY CORPORATION,                               §
JEREMY S. WAGERS,                                           §
JUDSON F. (“RICK”) HOOVER,                                  §
PARKER R. HALLAM,                                           §
JOSEPH SIMO,                                                §
DUSTIN MICHAEL MILLER RODRIGUEZ,                            §
BETH C. HANDKINS,                                           §
GILBERT STEEDLEY,                                           §
BREITLING OIL & GAS CORPORATION,                            §
CRUDE ENERGY, LLC,                                          §
PATRIOT ENERGY, INC.,                                       §
                                                            §
                              Defendants,                   §
                                                            §
and                                                         §
                                                            §
TAMRA M. FREEDMAN and                                       §
JETMIR AHMEDI,                                              §
                                                            §
                              Relief Defendants.            §
                                                            §

          FINAL JUDGMENT AS TO RELIEF DEFENDANT JETMIR AHMEDI

         The Securities and Exchange Commission having filed a Complaint and a First Amended

Complaint, and Relief Defendant Jetmir Ahmedi (“Relief Defendant”) having by written Consent

entered a general appearance; consented to the Court’s jurisdiction over Relief Defendant and the

subject matter of this action; consented to entry of this Final Judgment without admitting or

denying the allegations of the First Amended Complaint (except as to jurisdiction and except as

otherwise provided herein in paragraph IV); waived findings of fact and conclusions of law; and



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waived any right to appeal from this Final Judgment:

                                                  I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Relief Defendant is

liable for disgorgement of $222,000, representing ill-gotten gains as a result of the conduct

alleged in the First Amended Complaint. Relief Defendant shall satisfy this obligation by paying

$222,000 to the court-appointed receiver—Thomas L. Taylor (the “Receiver”)—for the estates

of Defendants Christopher A. Faulkner, Breitling Oil & Gas Corporation, and Breitling Energy

Corporation, pursuant to the terms of payment set forth in Paragraph II below. Upon receipt by

the Receiver, such funds shall become Receivership Assets within the meaning of the term in this

Court’s September 25, 2017 order appointing the Receiver (Doc. 142). Relief Defendant shall

make payment in accordance with the following instructions:

       Payment must be: (A) made by United States postal money order, certified check, bank

cashier’s check, or bank money order; (B) made payable to “Receiver’s Account, Estate of C.

Faulkner, et al.”; (C) hand-delivered or mailed to Thomas L. Taylor, The Taylor Law Offices,

P.C., 245 West 18th Street, Houston, TX 77008; and (D) submitted under cover letter that

identifies the Relief Defendant submitting the payment and the cause number of this civil action

(SEC v. Christopher A. Faulkner, et al., Civ. Act. No. 3:16-1735-D (N.D. Tex.)). Further, Relief

Defendant shall simultaneously send a copy of the cover letter and money order or check to B.

David Fraser, Division of Enforcement, Securities and Exchange Commission, 801 Cherry

Street, Suite 1900, Fort Worth, TX 76102. By making this payment, Relief Defendant

relinquishes all legal and equitable right, title, and interest in such funds and no part of the funds

shall be returned to Relief Defendant.

       The Commission may enforce the Court’s judgment for disgorgement by moving for civil




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contempt (and/or through other collection procedures authorized by law) 14 days after Relief

Defendant fails to make any payment ordered herein.

                                                 II.

       Relief Defendant shall pay the total disgorgement due of $222,000 in seven (7)

installments according to the following schedule: (1) $150,000 within 10 days after entry of this

Final Judgment; (2) $12,000 within 45 days after entry of this Final Judgment; (3) $12,000

within 90 days after entry of this Final Judgment; (4) $12,000 within 135 days after entry of this

Final Judgment; (5) $12,000 within 180 days after entry of this Final Judgment; (6) $12,000

within 225 days after entry of this Final Judgment; and (7) $12,000 within 270 days after entry of

the Final Judgment. Payments shall be deemed made on the date they are received by the

Receiver (and notice received by the Commission) and shall be applied first to post-judgment

interest, which shall accrue pursuant to 28 U.S.C. § 1961 as to any amount that is delinquent

under the payment schedule above. Prior to making the final payment set forth herein, Relief

Defendant shall contact the Receiver and the staff of the Commission for the amount due for the

final payment.

       If Relief Defendant fails to pay in full any of the foregoing installments by the deadline

specified above, all outstanding payments under this Final Judgment, including post-judgment

interest, minus any payments made, shall become due and payable immediately at the discretion

of the staff of the Commission without further application to the Court.

                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and Relief

Defendant shall comply with all of the agreements set forth therein.




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                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the First Amended Complaint are true and admitted by Relief Defendant, and

further, any debt for disgorgement or other amounts due by Relief Defendant under this Final

Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation of the federal securities laws or any

regulation or order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy

Code, 11 U.S.C. §523(a)(19).

                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

                                                VI.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


Dated: February 21, 2017.

                                              ____________________________________
                                              SIDNEY A. FITZWATER
                                              UNITED STATES DISTRICT JUDGE




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